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                              UNITED STATES DISTRICT CO UR T
                              SO UTH ER N D ISTR ICT O F FLO R IDA

                                  Case No.15-20390-CR -BLO O M


 U NITED STA TES OF A M ERICA



 NORM A AR ACELY SIERRA FIGUEROA,
                              Defendant.
                                               /


                                       FA CTUAL PR O FFER

         Had this case proceeded to trial, the United States would have proven beyond a reasonable

 doubtthe fbllowing factspertaining to a violation ofTitle 18, United StatesCode.Section 1546(a).

        On M ay 25. 20l5, the defendant, a citizen and national of Honduras, arrived at M iam i

 lnternationalA irportin the Southern D istrictof Florida aboard A m erican A irlines tlight#956 from

 Tegucigalpa,Honduras. She presented a valid Honduran passportcontaining a United Statesvisa to

 U.S.Customsand BorderProtection(-%CBP'')officersforentryintotheUnitedStates The defendant
                                                                                     .



 wasreferred to secondary inspection as a possible overstay.

        ln secondal'
                   y inspection,queries into im m igration records indicated that the defendant had

been adm itted previously into the United States on A pril19, 2008,and was authorized to stay forsix

m onths. However,airline records indicated thatshe did notdepartthe United States untilDecem ber

 16.2009.CBP officers retrieved a copy of the defendant's visa application executed on April24s

2012. A review of the application indicated that the defendant falsely answered :ûNo'' to the

fbllow ing questions: kil-lave you ever been unlaw fully presents overstayed the amount of tim e

granted by an im m igration officialor otherwise violated the term s ofa U .S.visa?''and ttl-lave you

eversoughtto obtain orassistothersto obtain a visa, entry into the United States,orany other United
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 States im m igration benefitby fraud or w illfulm isrepresentation orother unlawfulm eans?''A lso,in

 answer to the question pertaining to the duration of her last five visits to the United States,the

 defendantstated thatshe rem ained in the United States foronly five weekscom m encing April

 2008. In an unsw orn declaration atthe end ofthe application,the defendantcertified under penalty

 ofperjurythatshehad read andunderstoodalIofthequestionsand answers,even ifpreparedbya
 third party.and thatalIofheranswerswere true and correct.

          ln secondary exam ination the defendantprovided a sw orn statem entto CBP officers in w hich

 sht adm itted she overstayed in the United States for m ore than a year,and that she obtained a false

 entry stam p.The defendanttold officers thatshe made the false statem ents on the visa application

 because she wasafraid hervisa would be denied ifshe told the truth.

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                                                 A CELY SIERRA FIG UEROA
                                        DEFEN DANT
